                    UNITED STATES BANKRUPTCY COURT
         FOR THE EASTERN DISTRICT OF MICHIGAN, NORTHERN DIVISION

                                          )
In Re:
                                          )                      Chapter 11
PORTER’S       PENINSULA         LOGGING, )                  Case No. 23-20563
LLC,                                      )                Hon. Daniel S. Opperman
                     Debtor.              )



                                  AMENDED
                     CHAPTER 11 PLAN OF REORGANIZATION
               FOR SMALL BUSINESS DEBTOR UNDER SUBCHAPTER V


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                                         ARTICLE I.
                                        DISCLOSURES

       The Debtor proposes this Plan for the resolution of the outstanding Claims against the
Debtor pursuant to Subchapter V of chapter 11 of the Bankruptcy Code. Capitalized terms used
herein and not otherwise defined have the meanings ascribed to such terms in Article X of this
Plan. The following disclosures are provided pursuant to section 1190(1) of the Bankruptcy Code.

       All creditors and equity security holders should refer to Articles III through VIII of this
Plan for information regarding the precise treatment of their claims or interests. Your rights may
be affected. You should read these papers carefully and discuss them with your attorney, if
you have one. (If you do not have an attorney, you may wish to consult one.) This Plan is a
proposal by the Debtor and subject to court approval after opportunity for objections and a
hearing. Please refer to Order Establishing Deadlines and Procedures in the Case of a Small
Business Debtor Who Has Elected to Have Subchapter V of Chapter 11 Apply [Dkt. #34] for
important information regarding Plan voting and objection deadlines.

A.     Brief History of the Business Operations.

        Debtor commenced this limited liability company on November 3, 2016 (“LLC”). Todd
Porter formed this LLC and has continued to operate under that LLC to date. The Debtor’s primary
business is cutting lumber and selling lumber and related wood products to companies such as
Weyerhaeuser, Georgia Pacific and various other companies.

B.     Events Leading to Bankruptcy Filing.

       The business was started in October 2016. In August 2018, the business purchased a used
2015 Komatsu XT430-2 with a new Risley R24-B harvester head from Roland Machinery out of
Escanaba Michigan. There was a year of serious problems with said harvester head. In July 2021
the business purchased a new Komatsu XT430-5 from Roland Machinery out of Escanaba
Michigan.

        The Debtor continued to operate successfully through early 2023. In July of 2021, the LLC
purchased a new XT430-5 Feller Buncher (“Harvester”) from Komatsu Financial Limited
Partnership (“Komatsu”). These payments were very high, and Todd Porter regularly had issues
with the equipment to the point that the business was out of commission for several weeks at a
time. This, combined with a downturn in business, led to a loan with B2B Financing which is an
internet financer that deducted payments on a daily basis of approximately $400.00 per day, for a
monthly payment in excess of $12,000.00, per month. All of these events led to a cash flow issue
which resulted in the Debtor not being able to generate significant funds for payments to Komatsu
and Komatsu was preparing to repossess the Harvester. The Harvester is the heart of the Debtor’s
business and without that piece of equipment, he is unable to operate the business. As a result,
Debtor filed for protection under Chapter 11 of the Bankruptcy Code on or about May 19, 2023.

C.     The Debtor’s Assets and Liabilities.

       The Debtor’s assets and liabilities are set out more fully in a liquidation analysis which is
referenced in Paragraph E of these disclosures and attached hereto as Exhibit A.


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D.     Plan Summary.

       1.      Claims and Interests.

               The Plan provides for the following Claims and Interests:

               a.      Administrative Claims.

               b.      Professional Fees.

               c.      Secured Claim of B2B Financing.

               d.      Secured Claim of Komatsu Financial Limited Partnership.

               e.      Secured Claim of Lutke Equipment.

               f.      General Unsecured Claims.

               g.      Membership Interests.

       2.      Treatment of Claims and Interests.

                The Plan proposes to pay Allowed Administrative Claims in accordance with IV.
Holders of Claims in Classes 3 through 5 should refer to Article IV for information regarding the
precise treatment of their Claim. Holders of Class 6 General Unsecured Claims will receive Pro
Rata distributions, which the Debtor has valued as approximately $.26 cents on the dollar. Holders
of Interests shall retain their Interests in the Debtor.

               The Plan Term is [five] years commencing on the Effective Date.

       3.      Means of Implementation.

             Any net proceeds which are recovered from litigation against Roland Machinery
Company, will also be utilized to pay Class 2 and Class 6 creditors.

               The Debtor will satisfy Allowed Claims under the Plan with Cash derived from
ongoing business operations, and Cash derived from its Projected Disposable Income during the
term of the Plan.

E.     Liquidation Analysis.

        Often called the “best interests” test, sections 1129(a)(7) and 1190(1)(B) of the Bankruptcy
Code require that a bankruptcy court find, as a condition to confirmation, that a 0 plan provides,
with respect to reach impaired class, that each Holder of a Claim or Interest in such impaired class
either (a) has accepted the plan or (b) will receive or retain under the plan property of a value that
is not less than the amount that the non-accepting Holder would receive or retain if the debtor
liquidated under chapter 7.




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        Attached hereto as Exhibit A and incorporated herein by reference is a liquidation analysis
(the “Liquidation Analysis”) prepared by the Debtor with the assistance of its advisors. As
reflected in the Liquidation Analysis, the Debtor believes that liquidation of the Debtor’s business
under chapter 7 of the Bankruptcy Code would result in substantial diminution in the value to be
realized by Holders of Claims or Interests as compared to distributions contemplated under the
Plan. Consequently, the Debtor and its management believe the Confirmation of the Plan will
provide a substantially greater return to Holders of Claims or Interests than would a liquidation
under chapter 7 of the Bankruptcy Code.

F.     Projections and Plan Feasibility.

        Section 1190(1)(C) of the Bankruptcy Code requires a plan filed under Subchapter V of 0
to include projections with respect to the ability of the debtor to make payments under the proposed
plan of reorganization. In addition to this requirement, section 1129(a)(11) of the Bankruptcy
Code requires the bankruptcy court to find that confirmation of a plan of reorganization is not
likely to be followed by the liquidation, or the need for further financial reorganization of the
debtor, or any successor of the debtor (unless such liquidation or reorganization is proposed in
such plan of reorganization). If a class of claims or interests is impaired by the plan and does not
accept the plan, section 1191(b) of the Bankruptcy Code requires that the bankruptcy court to
additionally find that the plan is fair and equitable, with respect such class of claims or interests as
a condition to plan confirmation. To conclude that the plan is fair and equitable to each
nonconsenting impaired class, the bankruptcy court must find that: (1) with respect to a class of
secured claims, the plan meets the requirements of section 1129(b)(2)(A) of the Bankruptcy Code;
(2) as of the effective date of the plan, all of the projected disposable income of the debtor to be
received during the plan term, or its equivalent value, will be applied to make payments under the
plan; and (3)(i) the debtor will be able to make all payments under the plan, or (ii) there is a
reasonable likelihood that the debtor will be able to make all payments under the plan. See 11
U.S.C. § 1191(c).

        To comply with section 1190(1)(C) and determine whether the Plan meets the forgoing
feasibility requirements, the Debtor, has analyzed its ability to meet its obligations under the Plan.
As part of this analysis, the Debtor has prepared its projected cash flows (the “Financial
Projections”) attached hereto as Exhibit B and incorporated herein by reference. Based on the
Financial Projections, the Debtor believes that it will be a viable operation following the
Bankruptcy Case and that the Plan will meet the feasibility requirements of the Bankruptcy Code.

        The Debtor recognizes that his Financial Projections show an income higher than his
income has been during the course of this Chapter 11 proceeding. It should be noted that his income
has increased significantly on a monthly basis. The gross income in June, July and August of 2023
has increased significantly on a monthly basis and the Debtor is confident, based on its operations
in October, that the Financial Projections are accurate and that funds will be sufficient to make the
payments under this Plan and meet the feasibility requirement of the Bankruptcy Code.

        It is important to note that the Debtor’s accounts receivable at the end of October 1, 2023,
is in excess of $47,000.00. They remain in that range today. Consequently, the projections which
show a $48,000.00 income on a monthly basis, are realistic and will allow the Debtor to make the
payments provided herein. The September 2023 Monthly Operating Report is attached hereto as
Exhibit C.

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                          JUNE 2023        JULY 2023       AUGUST 2023 SEPTEMBER 2023
 GROSS INCOME            $17,639.04       $20,847.66       $22,761.59         $34,902.54
 ACCOUNTS                $35,579.66       $36,717.96       $42,302.02         $44,017.12
 RECEIVABLE

       You should consult with your accountant or other financial advisor if you have any
questions pertaining to these projections.

                                   ARTICLE II.
                     CLASSIFICATION OF CLAIMS AND INTERESTS

        Except for the Claims addressed in Article III of the Plan, all Claims and Interests are
classified in the Classes set forth below in accordance with sections 1122 and 1123(a)(1) of the
Bankruptcy Code. A Claim or Interest, or any portion thereof, is classified in a particular Class
only to the extent that any portion of such Claim or Interest qualifies within the description of that
Class and is classified in other Classes to the extent that any portion of such Claim or Interest
qualifies within the description of such other Classes. A Claim or an Interest also is classified in
a particular Class for the purpose of receiving distributions under the Plan only to the extent that
such Claim or Interest is an Allowed Claim or Interest in that Class and has not been paid, released,
or otherwise satisfied prior to the Effective Date.

       The classification of Claims against and Interests in the Debtor pursuant to the Plan is as
follows:

 Class       Claims and Interests         Status          Voting Rights

 Class 1     Administrative Claims        Unimpaired      Not Entitled to Vote (Deemed to Accept)

 Class 2     Professional Fees            Unimpaired      Not Entitled to Vote (Deemed to Accept)

 Class 3     Secured Claim of B2B Impaired                Entitled to Vote
             Financing

 Class 4     Secured Claim of             Impaired        Entitled to Vote
             Komatsu Financial
             Limited Partnership
 Class 5     Secured Claim of Lutke Impaired              Entitled to Vote
             Equipment

 Class 6     General Unsecured            Impaired        Entitled to Vote
             Claims
 Class 7     Membership Interests         Impaired        Not Entitled to Vote (Deemed to Accept)
             of Debtor




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                                  ARTICLE III.
                       TREATMENT OF NON-CLASSIFIED CLAIMS

       In accordance with section 1123(a)(1) of the Bankruptcy Code, Administrative Claims
have not been classified and thus are excluded from the Classes of Claims set forth in Article II.

A.     Administrative Claims.

        Subject to section B of this Article, and unless otherwise agreed to by the Holder of an
Allowed Administrative Claim and the Debtor, each Holder of an Allowed Administrative Claim
(other than Holders of Professional Fee Claims) will receive in full and final satisfaction of its
Administrative Claim an amount of Cash equal to the amount of such Allowed Administrative
Claim in accordance with the following: (1) if an Administrative Claim is Allowed on or prior to
the Effective Date, on the Effective Date or as soon as reasonably practicable thereafter (or, if not
then due, when such Allowed Administrative Claim is due or as soon as reasonably practicable
thereafter); (2) if such Administrative Claim is not Allowed as of the Effective Date, no later than
thirty (30) days after the date on which an order allowing such Administrative Claim becomes a
Final Order, or as soon as reasonably practicable thereafter; (3) if such Allowed Administrative
Claim is based on liabilities incurred by the Debtor in the ordinary course of its business after the
Petition Date in accordance with the terms and conditions of the particular transaction giving rise
to such Allowed Administrative Claim without any further action by the Holder of such Allowed
Administrative Claim; (4) at such time and upon such terms as may be agreed upon by such Holder
and the Debtor, as applicable; or (5) at such time and upon such terms as set forth in an order of
the Bankruptcy Court.

B.     Administrative Claims under Sections 507(a)(2) and (a)(3) of the Bankruptcy Code.

        Pursuant to section 1191(e) of the Bankruptcy Code, each Holder of an Allowed
Administrative Claim arising under sections 507(a)(2) and (a)(3) of the Bankruptcy Code will
receive in full and final satisfaction of its Administrative Claim an amount of Cash equal to the
amount of such Allowed Administrative Claim payable in equal installments not less frequently
than once each fiscal quarter beginning on the later of (i) the Effective Date, or (ii) if such
Administrative Claim is not Allowed as of the Effective Date, no later than thirty (30) days after
the date on which an order allowing such Administrative Claim becomes a Final Order, or as soon
as reasonably practicable thereafter.

       The Debtor does not believe that there are any unpaid creditors on a post-petition basis,
however, to the extent they do exist and were not previously paid during the Bankruptcy Case, all
requests for payment of Administrative Claims must be filed no later than thirty (30) days after the
Confirmation Date.

C.     Professional Fee Claims.

        To the extent not previously paid during the Bankruptcy Case, all requests for payment of
Professional Fee Claims must be filed no later than thirty (30) days after the Confirmation Date.
The Bankruptcy Court shall determine the Allowed amounts of such Professional Fee Claims after
notice and a hearing in accordance with the procedures established by the Bankruptcy Code, the



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Bankruptcy Rules, or order of the Bankruptcy Court. The Debtor shall pay Professional Fee
Claims at a rate of $2,000.00 per month.

        Professionals shall reasonably estimate their unpaid fees and expenses incurred in
rendering services to the Debtor or, in the case of the Subchapter V Trustee, performing their
obligations under section 1183 of the Bankruptcy Code, and shall file a statement of such estimated
fees and expenses on the docket in the Bankruptcy Case no later than seven (7) days before the
first date upon which the Confirmation Hearing is scheduled; provided, however, that such
estimate shall not be deemed to limit the amount of the fees and expenses that are the subject of
the Professional’s final request for payment of Professional Fee Claims. If a Professional does not
provide an estimate, the Debtor may estimate the unpaid and unbilled fees and expenses of such
Professional.

                               ARTICLE IV.
              TREATMENT OF CLAIMS AND INTERESTS UNDER PLAN

A.     Treatment of Claims and Interests.

       Each Holder of an Allowed Claim or Allowed Interest, as applicable, shall receive under
the Plan the treatment described below in full and final satisfaction, settlement, release, and
discharge of and in exchange for such Holder’s Allowed Claim or Allowed Interest, except to the
extent different treatment is agreed to by the Debtor and the Holder of such Allowed Claim or
Allowed Interest, as applicable. Unless otherwise indicated, the Holder of an Allowed Claim or
Allowed Interest, as applicable, shall receive such treatment on the Effective Date or as soon as
reasonably practicable thereafter.

       1.      Class 1 – Administrative Claim

               a.     Classification: Class 1 consists of any Administrative Claims, with the
                      exception of Professional Fees, against the Debtor. The Debtor does not
                      believe that it has any Class 1 Administrative Claims;

               b.     Treatment: Each Holder of an Allowed Administrative Claim shall receive,
                      if any, payment in full and final on the Effective Date of the Plan.

               c.     Voting: Class 1 is Unimpaired under the Plan. Holders of Allowed Claims
                      in Class 1 are conclusively presumed to have accepted the Plan pursuant to
                      section 1126(f) of the Bankruptcy Code. Therefore, such Holders are not
                      entitled to vote to accept or reject the Plan.

       2.      Class 2 – Professional Fees

               a.     Classification: Class 2 consists of any Professional Fees.

               b.     Treatment: To the extent there is any recovery in the litigation against
                      Roland Machinery Company, which cause of action is preserved herein, the
                      net proceeds of that recovery will be paid to Class 2 Professional Fees until
                      these claims are paid in full. The Debtor will consult with the Subchapter V
                      Trustee to determine the amount of Professional Fees which are due and

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                 owing in this matter. A statement with respect to the estimated Professional
                 Fees will be filed with this Court as an additional addendum ten (10) days
                 prior to Confirmation. These will be paid at the rate of $2,000.00 per month
                 until paid in full.

          c.     Voting: Class 2 is Unimpaired under the Plan. Holders of Professional
                 Claims in Class 2 are conclusively presumed to have accepted the Plan
                 pursuant to section 1126(f) of the Bankruptcy Code. Therefore, such
                 Holders are not entitled to vote to accept or reject the Plan.

     3.   Class 3 – Secured Claim of B2B Financing

          a.     Classification: Class 3 consists of the Secured Claim of B2B Financing.

          b.     Allowance: On the Effective Date, the Secured Claim of B2B Financing
                 shall be Allowed in the principal amount of $72,036.70.

          c.     Treatment: In full and complete satisfaction, settlement, release and
                 discharge of the Class 3 Claim, B2B Financing claim amount shall be
                 amortized over five years at 6% interest. This will require payments by the
                 Debtor in the amount of $1,392.07 per month. These payments will begin
                 on the first of the month following the Effective Date of the Plan.

          d.     Lien Retention: B2B Financing shall retain the Lien securing the Class 3
                 Claim until payment in full of the Allowed Class 3 Claim.

          e.     Voting: Class 3 is impaired under the Plan and B2B Financing is entitled to
                 vote to accept or reject the Plan.

     4.   Class 4 – Secured Claim of Komatsu Financial Limited Partnership

          a.     Classification: Class 4 consists of the Secured Claim of Komatsu Financial
                 Limited Partnership.

          b.     Allowance: On the Effective Date, the Secured Claim of Komatsu Financial
                 Limited Partnership shall be Allowed in the principal amount of
                 $310,000.00.

          c.     Treatment: In full and complete satisfaction, settlement, release and
                 discharge of the Class 4 Claim, Komatsu Financial Limited Partnership
                 shall be amortized over seven years at 9% interest. This will require
                 payments by the Debtor in the amount of $4,987.61 per month. These
                 payments will begin on the first of the month following the Effective Date
                 of the Plan.

          d.     Lien Retention: Komatsu Financial Limited Partnership shall retain the
                 Lien securing the Class 4 Claim until payment in full of the Allowed Class
                 4 Claim.


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          e.     Voting: Class 4 is impaired under the Plan and Komatsu Financial Limited
                 Partnership is entitled to vote to accept or reject the Plan.

     5.   Class 5 – Secured Claim of Lutke Equipment

          a.     Classification: Class 5 consists of the Secured Claim of Lutke Equipment.

          b.     Allowance: Lutke Equipment has filed a secured claim in the amount of
                 $19,958.02. The Debtor is still investigating whether this claim is accurate
                 and reserves this right to object to the claim if the Debtor believes the
                 amount is not correct.

          c.     Treatment: This will require payments by the Debtor in the amount of
                 $358.89 monthly. This represents an amortization of the claimed amount
                 over five years at 6% interest. If it is determined that the amount owed is
                 less than the claimed amount, this payment will continue in the
                 aforementioned amount until the obligation is paid in full. These payments
                 will begin on the first of the month following the Effective Date of the Plan.

          d.     Lien Retention: Lutke Equipment shall retain the Lien securing the Class 5
                 Claim until payment in full of the Allowed Class 5 Claim.

          e.     Voting: Class 5 is impaired under the Plan and Lutke Equipment is entitled
                 to vote to accept or reject the Plan.

     6.   Class 6 – General Unsecured Claims

          a.     Classification: Class 6 consists of Holders of General Unsecured Claims
                 as listed on Exhibit D.

          b.     Treatment: Commencing on the end of the first quarter following the
                 Effective Date and concluding no later than the fifth-year anniversary of the
                 Effective Date, the Debtor shall distribute Cash to each Holder of a pro rata
                 portion of $1,000.00 per quarter for the first twelve (12) quarters and a pro
                 rata portion in the amount of $2,000.00 per quarter for the following eight
                 (8) quarters of the Plan. These creditors will receive approximately 26% of
                 their claims. Payments will commence at the end of the first quarter
                 following the Effective Date of the Plan. After Class 2 creditors are paid in
                 full, to the extent there is any recovery in the litigation against Roland
                 Machinery Company, which cause of action is preserved herein, the
                 remaining net proceeds of that recovery will be paid to Class 6 creditors
                 until they are paid in full.

          c.     Compliance with Section 1191(b): If Class 6 votes to reject the Plan,
                 Holders of Class 6 Allowed General Unsecured Claims shall receive the
                 treatment set forth above and shall additionally be entitled to exercise the
                 remedies set forth in Article VIII.HH. The Debtor submits that such
                 treatment satisfies the requirements of section 1191(b).


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               d.      Voting: Class 6 is Impaired under the Plan and Holders of General
                       Unsecured Claims shall be entitled to vote to accept or reject the Plan.

       7.      Class 7 – Membership Interests

               a.      Classification: Class 7 consists of Holders of Membership Interests in the
                       Debtor.

               b.      Treatment: On the Effective Date, each Holder shall retain their Interests in
                       the Debtor in the same proportions that existed on the Petition Date.

               c.      Voting: Class 7 is Unimpaired under the Plan. The Holders of Interests in
                       Class 7 are conclusively presumed to have accepted the Plan pursuant to
                       section 1126(f) of the Bankruptcy Code. Therefore, the Holders are not
                       entitled to vote to accept or reject the Plan.

B.     Voting Classes, Presumed Acceptance by Non-Voting Classes

        If a Class contains Claims or Interests eligible to vote and no Holders of Claims or Interests
eligible to vote in such Class vote to accept or reject the Plan, the Holders of such Claims or
Interests in such Class shall be deemed to have accepted the Plan.

C.     Confirmation Pursuant to section 1191(b) of the Bankruptcy Code

        Section 1129(a)(10) of the Bankruptcy Code shall be satisfied for purposes of Confirmation
by acceptance of the Plan by one or more of the Classes entitled to vote pursuant to Article III.A
of the Plan. The Debtor shall seek Confirmation of the Plan pursuant to section 1191(b) of the
Bankruptcy Code with respect to any rejecting Class of Claims or Interests. The Debtor reserves
the right to modify the Plan in accordance with Article XI of the Plan to the extent, if any, that
Confirmation pursuant to section 1191(b) of the Bankruptcy Code requires modification, including
by modifying the treatment applicable to a Class of Claims or Interests to render such Class of
Claims or Interests Unimpaired to the extent permitted by the Bankruptcy Code and the
Bankruptcy Rules.

D.     Controversy Concerning Impairment

        If a controversy arises as to whether any Claims or Interests, or any Class of Claims or
Interests, are Impaired, the Bankruptcy Court shall, after notice and a hearing, determine such
controversy on or before the Confirmation Date.

                                    ARTICLE V.
                         PRESERVATION OF CAUSES OF ACTION

        The Debtor preserves and intends to pursue a cause of action against Roland Machinery
Company. Roland Machinery Company completed repairs on the equipment and the repairs
were faulty, causing the main gear box of the Komatsu equipment to fail and causing significant
damage. The damage caused by Roland Machinery Company in their faulty repairs resulted in a
total down time of the equipment of between four and six months. Debtor preserves this cause of


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action against Roland Machinery Company and intends to pursue it with any net recovery against
Roland Machinery Company to Class 2 and Class 6 creditors in this matter in order of priority.

                                ARTICLE VI.
                    ALLOWANCE AND DISALLOWANCE OF CLAIMS

A.     Disputed Claims Process.

         The Debtor shall retain the right to file an objection to any Proof of Claim that has been
filed in this case within thirty (30) days of the Effective Date of the Plan.

       Except as otherwise provided herein, all Proofs of Claim filed after the Proof of Claim Bar
Date or Governmental Bar Date shall be Disallowed and forever barred, estopped, and enjoined
from assertion, and shall not be enforceable against the Debtor, without the need for any objection
by the Debtor or the Subchapter V Trustee, or any further notice to, or action, order or approval of
the Bankruptcy Court. For the avoidance of doubt, on and after the Effective Date, the Debtor
may negotiate and settle any Claims, including Claims for which a Proof of Claim has been filed,
without further notice to or approval of the Bankruptcy Court or any other party.

B.     Prosecution of Objections to Claims.

        Any objections to Claims or Interests shall be served and filed on or before the 30th day
after the Effective Date or by such later date as may be fixed or established by the Bankruptcy
Court or by agreement between the Debtor and the Holder (the “Claims Objection Deadline”).

                               ARTICLE VII.
                 EXECUTORY CONTRACTS AND UNEXPIRED LEASES

       The Debtor does not believe it has any executory contracts, however, to the extent the
Debtor’s insurance policies are deemed to be executory contracts, the following provisions shall
apply.

A.     Insurance Policies.

        Each of the Debtor’s insurance policies and any agreements, documents, or instruments
relating thereto, are treated as Executory Contracts under the Plan. Unless otherwise provided in
the Plan, on the Effective Date, (1) the Debtor shall be deemed to have assumed all insurance
policies and any agreements, documents, and instruments relating to coverage of all insured Claims
and (2) such insurance policies and any agreements, documents, or instruments relating thereto
shall revest in the Debtor.

B.     Reservation of Rights.

         Nothing contained in the Plan shall constitute an admission by the Debtor that any such
contract or lease is in fact an Executory Contract or Unexpired Lease or that the Debtor has any
liability thereunder. If there is a dispute regarding whether a contract or lease is or was executory
or unexpired at the time of assumption or rejection, the Debtor shall have thirty (30) days following
entry of a Final Order such dispute to alter its treatment of such contract or lease under the Plan.


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                                 ARTICLE VIII.
                     MEANS FOR IMPLEMENTATION OF THE PLAN

A.     Global Settlement of Claims and Interests.

        Pursuant to section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019, and in
consideration for the classification, distributions, release, and other benefits provided under the
Plan, upon the Effective Date, the provisions of the Plan shall constitute a good faith compromise
and settlement of all Claims and Interests and controversies resolved pursuant to the Plan. The
Plan shall be deemed a motion to approve the good faith compromise and settlement of all such
Claims, Interests, and controversies pursuant to Bankruptcy Rule 9019, and the entry of the
Confirmation Order shall constitute the Bankruptcy Court’s approval of such compromise and
settlement under section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019, as well as a
finding by the Bankruptcy Court that such settlement and compromise is fair, equitable, reasonable
and in the best interests of the Debtor and the Estate. Subject to Article VIII hereof, all
distributions made to Holders of Allowed Claims in any Class are intended to be and shall be final.

        The Confirmation Order shall and shall be deemed to, pursuant to both section 1123 and
section 363 of the Bankruptcy Code, authorize, among other things, all actions as may be necessary
or appropriate to effect any transaction describe in, approved by, contemplated by, or necessary to
effectuate the Plan.

        In the event that any payment or act under the Plan is required to be made or performed on
a date that is not a Business Day, then the making of such payment or the performance of such act
may be completed on the next succeeding Business Day but shall be deemed to have been
completed as of the required date.

B.     Confirmation of the Plan under Section 1191(b).

       The Debtor requests that the Bankruptcy Court enter the confirm the Plan under section
1191(b) of the Bankruptcy Code with respect to any Impaired Class that does not accept the Plan
pursuant to section 1126 of the Bankruptcy Code. The Debtor reserves the right to modify the
Plan to the extent, if any, that confirmation pursuant to section 1191(b) of the Bankruptcy Code
requires modification.

C.     Vesting of Assets in the Debtor.

        Except as otherwise provided in the Plan or any agreement, instrument, or other document
incorporated herein, on the Effective Date, all property in the Estate, Cause of Action, and any
property acquired by the Debtor pursuant to the Plan shall vest in the Debtor, free and clear of all
Liens, Claims, charges, Causes of Action, or other encumbrances. On and after the Effective Date,
except as otherwise provided in the Plan, the Debtor may operate its business and may use, acquire,
or dispose of property and compromise or settle any Claims, Interests, or Causes of Action without
supervision or approval by the Bankruptcy Court and free of any restrictions of the Bankruptcy
Code or Bankruptcy Rules.




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D.     Management of the Business.

        Except as provided in any agreement approved by the Bankruptcy Court, Todd Porter, Sole
Member, shall operate and manage the business of the Debtor after the Effective Date. Todd Porter
is an “insider” of the Debtor as that term is defined in section 101(31) of the Bankruptcy Code. In
exchange for his services as Sole Member, Todd Porter will receive $24,000.00 in annual
compensation from the Debtor payable monthly in the amount of $2,000.00.

E.     Sources of Consideration for Plan Distributions.

        The Debtor shall use Cash on hand, working capital, and Cash from ongoing business
operations to fund distributions to certain Holders of Allowed Claims, consistent with the terms of
the Plan. Pursuant to section 1190(2) of the Bankruptcy Code, the Plan provides for the submission
of all or such portion of the future earnings of the Debtor as is necessary for the execution of the
Plan.

F.     Delivery of Distributions.

       1.      Disbursing Agent.

               Notwithstanding sections 1191(b) and 1194 of the Bankruptcy Code, the Debtor
and not the Subchapter V Trustee shall act as the Disbursing Agent under the Plan.

                The Disbursing Agent shall be empowered to: (a) effect all actions and execute all
agreements, instruments, and other documents necessary to perform its duties under the Plan; (b)
make all distributions contemplated hereby; (c) employ professionals to represent it with respect
to its responsibilities; and (d) exercise such other powers as may be vested in the Disbursing Agent
by order of the Bankruptcy Court, pursuant to the Plan, or as deemed by the Disbursing Agent to
be necessary and proper to implement the provisions hereof.

               Except as otherwise ordered by the Bankruptcy Court, the amount of any reasonable
fees and expenses incurred by the Disbursing Agent on or after the Effective Date (including
taxes), and any reasonable compensation and expense reimbursements claim (including reasonable
attorney fees and expenses), made by the Disbursing Agent shall be paid in Cash by the Debtor.

       2.      Delivery of Distributions.

               Unless otherwise provided herein, the Disbursing Agent shall make distributions to
Holders of Allowed Claims at the address for each such Holder as indicated on the Debtor’s record
as of the date of any such distribution; provided that the address for each Holder of an Allowed
Claim shall be deemed to be the address set forth in any Proof of Claim filed by that Holder.

            At the option of the Disbursing Agent, any Cash payment to be made hereunder
may be made by check or wire transfer or as otherwise required or provided in applicable
agreements.




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       3.      Time Bar to Negotiate Distribution Checks.

                Holders of Allowed Claims shall have ninety (90) days from the date of issuance
of a distribution to negotiate a check issued by the Disbursing Agent. If a Holder fails to negotiate
a disbursement check within ninety (90) days, the Disbursing Agent shall have the right to void
the check, and any current and/or future claims of such Holder shall be treated as Unclaimed
Distributions (defined below).

       4.      Undeliverable Distributions.

                If any distribution to a Holder of an Allowed Claim is returned to the Disbursing
Agent as undeliverable, no further distributions shall be made to such Holder unless and until the
Disbursing Agent is notified in writing of such Holder’s then-current address or other necessary
information for delivery, at which time all currently due missed distributions shall be made to such
Holder as soon as practicable. If, despite reasonable effort, the Disbursing Agent is unable to
obtain the information necessary to deliver a distribution within six (6) months following the return
of the undeliverable distribution, the Debtor and the Disbursing Agent shall be authorized to treat
such Holder’s current and future distribution on account of its Allowed Claim as Unclaimed
Distributions (defined below).

               The Disbursing Agent shall have no obligation to make more than two (2) attempts
to obtain the Holder’s current address. Any distribution that remains undeliverable after six (6)
months of the date the distribution was first attempted shall become an Unclaimed Distribution
(defined below).

       5.      Unclaimed Distributions; Reversion.

               Any distribution made by the Disbursing Agent to a Holder of an Allowed Claim
that is undeliverable for more than six (6) months or has not been negotiated within ninety (90)
days from the date of issuance of the distribution check shall become an “Unclaimed Distribution.”
Unclaimed Distributions shall be deemed unclaimed property pursuant to section 347(b) of the
Bankruptcy Code and shall revest with the Debtor. Upon such revesting, (i) the Claim of any
Holder or its successors with respect to such property shall be cancelled, discharged, and forever
barred notwithstanding any applicable federal or state escheat, abandoned or unclaimed property
laws, or any provisions in any document governing the distribution that is an Unclaimed
Distribution, to the contrary, and (ii) such Holder shall not be entitled to receive any further
distributions on account the Allowed Claim relating to such Unclaimed Distribution.

G.     Modification of the Plan.

       The Debtor may modify the Plan subject to the requirements and limitations of section
1193 of the Bankruptcy Code. Consistent with Article VIII.B, the Debtor may modify the Plan to
the extent that confirmation pursuant to section 1191(b) of the Bankruptcy Code requires
modification.

        The Debtor may, without notice to Holders of Claims or Interests, insofar as it does not
materially or adversely affect the interests of any such Holders, correct any defect of omission in
the Plan and any schedule or exhibit to the Plan.


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H.     Default under the Plan; Appropriate Remedies.

        If the Plan has been confirmed under section 1191(a) of the Bankruptcy Code and the
Debtor fails to timely perform its obligations under the Plan with respect to one or more Holders
Allowed Claims then, notwithstanding the injunction set forth in Article IX.CC, such Holders shall
be entitled to pursue any rights and remedies that such Holders may have under applicable law,
including but not limited to foreclosure of Liens, and bringing an action against the Debtor for
breaching its obligations under the Plan and seeking monetary and/or injunctive relief; provided
that the Debtor shall have ninety (90) days to cure any default with respect to its obligations to
[Class 7] before any Holders of Allowed Claims in such Class may be allow to pursue any rights
or remedies that such Holders may have under applicable law.

        In addition to the foregoing, if the Plan has been confirmed under section 1191(b) of the
Bankruptcy Code, and the Debtor fails to timely perform its obligations under the Plan with respect
to one or more Impaired Classes that has not accepted the Plan, then: (i) the Debtor shall have
ninety (90) days to cure any default with respect to such Impaired Classes; (ii) if the Debtor is
unable to cure such default, it shall, no later than forty-five (45) days from the expiration of the
time allotted in clause (i), file a modified plan supported by a revised projected disposable income
analysis, which plan shall propose treatment of the Impaired Classes consistent with section 1191;
and (iii) the Debtor shall move for the Bankruptcy Court to approve the Plan, as modified, after
notice and a hearing. If the Debtor fails to comply with this paragraph after failing to perform its
obligations under the Plan with respect to one of more Impaired Classes or fails to obtain a Final
Order approving modifications to the Plan that are sufficient to ensure that Holders of Allowed
Claims in each Impaired Class are not discriminated against unfairly and receive fair and equitable
treatment, then any party in interest may move to convert the Bankruptcy Case to one under chapter
7, and the Debtor shall not oppose such motion.

I.     Termination of Subchapter V Trustee Service.

        If the Plan is confirmed pursuant to section 1191(a) of the Bankruptcy Code, the
Subchapter V Trustee’s service in the Bankruptcy Case shall terminate once the Plan has been
substantially consummated (as defined by section 1101(2) of the Bankruptcy Code), or the
Bankruptcy Case is dismissed or converted to another chapter of the Bankruptcy Code. No later
than fourteen (14) days after the Plan is substantially consummated, the Debtor shall file and serve
a notice of such substantial consummation pursuant to 1183(c)(2), which shall be sufficient proof
of the termination of the Subchapter V Trustee’s services.

        If the Plan is confirmed pursuant to section 1191(b) of the Bankruptcy Code, the
Subchapter V Trustee’s service in the Bankruptcy Case shall terminate upon the entry of a final
decree closing the Bankruptcy Case, or upon the dismissal or conversion of the Bankruptcy Case
to another chapter of the Bankruptcy Code.

J.     Case Closure.

        If the Plan is confirmed pursuant to section 1191(a), upon substantial consummation of the
Plan, the Debtor shall file: (i) the notice required under section 1183(c)(2); and (ii) a motion for
entry of final decree closing the Bankruptcy Case pursuant to Bankruptcy Rule 3022.



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       If the Plan is confirmed pursuant to section 1191(b), upon completion of all payments due
under the Plan to Holders of Claims in Classes 2, the Debtor shall file a motion for entry of final
decree closing the Bankruptcy Case pursuant to Bankruptcy Rule 3022. The Subchapter V
Trustee’s service shall terminate upon the entry of the final decree.

                                   ARTICLE IX.
                         DISCHARGE OF CLAIMS AND RELEASE

A.     Discharge.

        If the Plan is confirmed under section 1191(a) of the Bankruptcy Code, on the Effective
Date, the Debtor will be discharged from any debt that arose before confirmation of the Plan, to
the extent specified in section 1141(d)(1)(A) of the Bankruptcy Code. The Debtor will not be
discharged from any debt imposed by the Plan or to the extent provided in section 1141(d)(6) of
the Bankruptcy Code.

        If the Plan is confirmed pursuant to section 1191(b) of the Bankruptcy Code, the Debtor
will be discharged from any debt that arose before confirmation of the Plan pursuant to section
1141(d)(A) of the Bankruptcy Code and all Administrative Claims upon completion of all
payments due during the Plan Term and the Bankruptcy Court’s entry of an order of discharge
pursuant to section 1192 of the Bankruptcy Code; provided that the order of discharge shall not
apply to any debt for which the last payment is due after the Plan Term has completed.

        If the Plan is confirmed pursuant to section 1191(b) of the Bankruptcy Code, the Debtor
will be discharged from any debt that arose before confirmation of the Plan pursuant to section
1141(d)(A) of the Bankruptcy Code and all Administrative Claims upon completion of all
payments due during the Plan Term and the Bankruptcy Court’s entry of an order of discharge
pursuant to section 1192 of the Bankruptcy Code; provided that the order of discharge shall not
apply to any debt: (i) for which the last payment is due after the Plan Term has completed; or (ii)
that is excepted from discharge pursuant to section 523(a) of the Bankruptcy Code, except as
provided in Bankruptcy Rule 4007(c).]

        If the Plan is confirmed pursuant to section 1191(b) of the Bankruptcy Code, the Debtor
will be discharged from any debt that arose before confirmation of the Plan pursuant to section
1141(d)(A) of the Bankruptcy Code and all Administrative Claims, upon completion of all
payments due during the Plan Term and the Bankruptcy Court’s entry of an order of discharge
pursuant to section 1192 of the Bankruptcy Code; provided that the order of discharge shall not
apply to any debt: (i) for which the last payment is due after the Plan Term has completed, or as
otherwise provided in section 1192; or (ii) that is excepted from discharge pursuant to section
523(a) of the Bankruptcy Code, except as provided in Bankruptcy Rule 4007(c).]

B.     Release.

        Upon entry of the order of discharge, in consideration for, among other things, the
obligations of the Debtor under the Plan and other contracts, instruments, releases, agreements or
documents to be entered into or delivered in connection with the Plan: (i) each Holder of a Claim
that votes to accept the Plan; and (ii) to the fullest extent permissible under applicable law, each
Entity that has held, holds, or may hold a Claim or at any time was a creditor of the Debtor and


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that does not vote on the Plan or votes to reject the Plan, in each case will be deemed to forever
release, waive, and discharge all Claims, obligations, suits, judgments, damages, demands, rights,
Causes of Action, and liabilities (other than the right to enforce the Debtor’s obligations under the
Plan and the contracts, instruments, releases, agreements and documents delivered under the Plan),
whether liquidated or unliquidated, fixed or contingent, matured or unmatured, known or
unknown, foreseen or unforeseen, then existing or thereafter arising in law, equity or otherwise,
that are based in whole or in part on any act, omission, transaction or other occurrence taking place
on or prior to the Effective Date in any way relating to the Debtor, the Bankruptcy Case, or the
Plan that such Entity has, had or may have against the Debtor, the Estate, and the Debtor’s assets.

C.     Injunction.

        Except as otherwise expressly provided in the Plan or the Confirmation Order, or for
obligations issued or required to be paid pursuant to the Plan or the Confirmation Order, all Entities
who have held, hold, or may hold Claims are permanently enjoined, from and after the Effective
Date, from taking any of the following actions against the Debtor or the Exculpated Parties: (1)
commencing or continuing in any manner any action or other proceeding of any kind on account
of or in connection with or with respect to any such Claims; (2) enforcing, attaching, collecting,
or recovering by any manner or means any judgment, award, decree, or order against the Debtor
or the Exculpated Parties, or their respective property or assets on account of or in connection with
or with respect to such Claims; (3) creating, perfecting, or enforcing any encumbrance of any kind
against the Debtor, the Exculpated Parties, or their respective property or assets on account of or
in connection with or with respect to such Claims; (4) asserting any right of setoff, subrogation, or
recoupment of any kind against any obligation due from the Debtor the Exculpated Parties, or their
respective property or assets on account of or in connection with or with respect to such Claims
unless such Holder has filed a motion requesting the right to perform such setoff on or before the
Effective Date; and (5) commencing or continuing in any manner any actions or other proceeding
of any kind on account of or in connection with or with respect to any such Claim released or
settled pursuant to the Plan.

                                        ARTICLE X.
                                    GENERAL PROVISIONS

A.     Defined Terms.

       As used in this Plan, capitalized terms have the meanings set forth below.

       1.       “Administrative Claim” means a Claim for costs and expenses of administration
of the Estate under section 503(b), 507(a)(2), 507(b), or 1114(e)(2) of the Bankruptcy Code,
including: (a) the actual and necessary costs and expenses incurred on or after the Petition Date of
preserving the Estate and operating the business of the Debtor; and (b) Allowed Professional Fee
Claims.

        2.      “Allowed” means, as to a Claim or Interest, proof of which was timely and properly
filed or, if no proof of Claim or Interest was filed, which has been or hereafter is listed in the
Schedules, as liquidated in an amount and not disputed or contingent and, in each case, as to which:
(a) no objection to allowance has been interposed within the applicable period fixed by this Plan,
the Bankruptcy Code, the Bankruptcy Rules, or the Bankruptcy Court, or (b) an objection has been

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interposed and such Claim or Interest has been allowed, in whole or in part, by a Final Order and/or
by the agreement of the holder of such Claim or Interest. With respect to an Administrative Claim,
“Allowed” shall mean any Administrative Claim, or any portion thereof, with respect to which
both (a) a timely and proper request for payment has been made to the extent required by the Plan,
the Confirmation Order, or by any other order of the Bankruptcy Court, and (b) such
Administrative Claim is allowed by the Bankruptcy Court. Allowed Claims shall not include
Disputed Claims or Disallowed Claims.

        3.       “Ballot” means each of the ballot forms distributed to each Holder of a Claim or
Interest entitled to vote to accept or reject the Plan.

      4.     “Bankruptcy Case” means the Debtor’s bankruptcy case pending in the
Bankruptcy Court, Case No. 23-20563.

        5.     “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C. §§ 101 –
1532.

       6.    “Bankruptcy Court” means the United States Bankruptcy Court for the District
of Massachusetts.

      7.      “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure as
promulgated under section 2075 of title of the United States Code, and the general, local, and
chambers rules of the Bankruptcy Court.

       8.     “Proof of Claim Bar Date” means September 20, 2023, the deadline for Holders
of Claims (other than Governmental Units) to file a Proof of Claim against the Estate in the
Bankruptcy Case.

        9.     “Business Day” means any day, other than a Saturday, Sunday, or “legal holiday”
(as defined in Bankruptcy Rule 9006(a)).

        10.     “Cash” means cash and cash equivalents, including bank deposits, checks, and
other similar items in legal tender of the United States of America.

        11.     “Cause of Action” means any action, claim, cross-claim, third-party claim, cause
of action, chose in action, controversy, dispute, right, Lien, indemnity, contribution, guaranty, suit,
obligation, liability, loss, debt, fee or expense, damage, interest, judgment, cost, account, defense,
remedy, offset, power, privilege, proceeding, license, and franchise of any kind or character
whatsoever, known, unknown, foresee or unforeseen, existing or hereafter arising, contingent or
non-contingent, matured or unmatured, suspected or unsuspected, liquidated or unliquidated,
disputed or undisputed, secured or unsecured, assertable directly or derivatively (including any
alter ego theories), whether arising before, on, or after the Petition Date, in contract or in tort, in
law or in equity or pursuant to any other theory of law.

        12.    “Claim” means any claim, as defined in section 101(5) of the Bankruptcy Code,
against the Debtor.

       13.     “Class” means a class of Claims or Interests as set forth in Article IV hereof
pursuant to section 1122(a) of the Bankruptcy Code.

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        14.    “Confirmation” means the Bankruptcy Court’s entry of the Confirmation Order
on the docket of the Bankruptcy Case.

        15.     “Confirmation Date” means the date on which the Bankruptcy Court enters the
Confirmation Order on the docket of the Bankruptcy Case within the meaning of Bankruptcy Rules
5003 and 9021; provided, however, that if on motion the Confirmation Order or consummation of
the Plan is stayed pending appeal, then the Confirmation Date shall be the date of entry of the Final
Order vacating such stay or the date on which such stay expires and is no longer in effect.

       16.    “Confirmation Hearing” means the hearing held by the Bankruptcy Court on
confirmation of the Plan, pursuant to Bankruptcy Rule 3020(b)(2) and sections 1128 and 1191 of
the Bankruptcy Code, as such hearing may be continued from time to time.

       17.     “Confirmation Order” means the order of the Bankruptcy Court confirming the
Plan pursuant to section 1191 of the Bankruptcy Code, together with any supplementary exhibits,
appendices, and related documents.

       18.    “Cure” means a Claim (unless waived or modified by the applicable counterparty)
based upon the Debtor’s default under an Executory Contract or an Unexpired Lease assumed by
the Debtor under section 365 of the Bankruptcy Code, other than a default that is not required to
be cured pursuant to section 365(b)(2) of the Bankruptcy Code.

        19.    “Debtor” has the meaning set forth in the preamble to the Plan and shall include
the reorganized Debtor after the Effective Date of the Plan, as applicable.

        20.     “Disallowed” means as to a Claim, or any portion thereof, that: (a) has been
disallowed or expunged by a Final Order; (b) has been listed by the Debtor in the Schedules in the
amount of “$0.00” or as unliquidated in amount, disputed, contingent, or unknown and for which
no Proof of Claim has been filed prior to the applicable deadline; or (c) unless otherwise specified
herein or by Final Order, any interest, fees, and charges, and any non-compensatory penalties,
fines, punitive damages, exemplary damages, multiple damages, or any other claims or obligations
that do not compensate for actual losses.

        21.    “Disbursing Agent” means, as applicable, the Debtor or any Entity the Debtor
selects to make or to facilitate distributions in accordance with the Plan.

      22.    “Disposable Income” shall have the meaning set forth in section 1191(d) of the
Bankruptcy Code.

        23.      “Disputed” means as to a Claim, or any portion thereof, that: (a) is not Allowed;
(b) that is not disallowed under the Plan, the Bankruptcy Code, or a Final Order, as applicable; (c)
is the subject of an objection or request for estimation filed in the Bankruptcy Court and which
objection or request for estimation has not been withdrawn or overruled by a Final Order; (d) if
held by an Entity that is a defendant in a pending Avoidance Action, or has failed to pay or turn
over property as required by section 502(d) of the Bankruptcy Code; or (e) is otherwise disputed
by the Debtor or the Subchapter V Trustee after the Effective Date, in accordance with applicable
law.



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         24.     “Exculpated Parties” means, collectively, and in each case in its capacity as such:
(i) the Debtor; (ii) the Subchapter V Trustee; (iii) the Disbursing Agent; (iv) any statutory
committee appointed in the Bankruptcy Case; and (v) each current and former director, manager,
officer, member, equity holder, predecessor, assignor, participant, successor, assign, subsidiaries,
affiliate, partner, limited partner, general partner, employee, agent, trustee, advisory board member,
financial advisor, attorney, accountant, consultant, representative, and other professional and
advisor with respect to clauses (i) through (iv).

        25.     “Effective Date” means the date that is the first Business Day: (i) following the
date that is fourteen (14) days after the Confirmation Date; or (ii) if a stay of the Confirmation
Order is in effect, the first Business Day after the date on which the stay of the Confirmation Order
expires or is otherwise terminated. Any action to be taken on the Effective Date may be taken on
or as soon as reasonably practicable thereafter.

       26.     “Entity” means any entity, as defined in section 101(15) of the Bankruptcy Code.

        27.    “Estate” means the estate created for the Debtor in the Bankruptcy Case pursuant
to sections 541 and 1186 of the Bankruptcy Code.

        28.    “Executory Contract” means a contract to which the Debtor is a party and that is
subject to assumption or rejection under section 365 of the Bankruptcy Code.

       29.     “Final Decree” means the decree contemplated pursuant to Bankruptcy Rule 3022.

         30.      “Final Order” means an order of judgment of the Bankruptcy Court or other court
of competent jurisdiction that has not been reversed, stayed, modified or amended, and as to which:
(a) the time to appeal, seek certiorari, or move for a new trial, stay, reargument, or rehearing has
expired, and as to which no appeal, petition for certiorari, or motion for new trial, stay, reargument,
or rehearing shall then be pending; or (b) if any appeal, certiorari, new trial, stay, reargument, or
rehearing thereof has been sought, such order or judgment shall have been affirmed by the highest
court to which such order or judgment was appealed, or certiorari shall have been denied, or a new
trial, stay, reargument, or rehearing shall have been denied or resulted in no modification of such
order, and the time to take any further appeal, petition for certiorari, or move for a new trial, stay,
reargument, or rehearing shall have expired; provided, that the possibility that a motion under Rule
60 of the Federal Rules of Civil Procedure, or any analogous Bankruptcy Rule, may be filed
relating to such order or judgment, shall not cause such order or judgment not to be a Final Order.

       31.     “General Unsecured Claim” means any Claim that is not (a) an Administrative
Claim, (b) a Professional Fee Claim, or (c) a Claim under Classes 2 through 5.

      32.    “Government Bar Date” means December 19, 2023, the deadline for a
Governmental Unit to file a Proof of Claim against the Estate in the Bankruptcy Case.

        33.   “Governmental Unit” means any governmental unit, as defined in section 101(27)
of the Bankruptcy Code.

        34.      “Impaired” means, with respect to any Class of Claims or Interests, a Claim or
Interest that is impaired within the meaning of section 1124 of the Bankruptcy Code.


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        35.     “Interests” means any equity or membership interest in the Debtor, whether in the
form of common or preferred stock, stock options, warrants, partnership interests, membership
interests, any other right to purchase or otherwise receive any ownership interest in the Debtor, or
other interest or related right to payment or compensation based upon such interest, existing on or
before the Effective Date.

        36.    “Lien” means a lien as defined in section 101(37) of the Bankruptcy Code.

       37.    “Liquidation Analysis” shall have the meaning set forth in Article I.D.E. The
Debtor’s Liquidation Analysis is attached to the Plan as Exhibit A.

        38.    “Person” has the meaning set forth in section 101(14) of the Bankruptcy Code.

        39.    “Petition Date” means the date on which the Debtor commenced the Bankruptcy
Case.

       40.    “Plan” means this plan of reorganization, including all exhibits, supplements,
appendices, and schedules, in its present form or as it may be altered, amended, modified, or
supplemented from time to time in accordance with the Bankruptcy Code and Bankruptcy Rules.

       41.     “Plan Term” means the duration of time from the Effective Date through the [third]
anniversary of the Effective Date.

       42.     “Pro Rata” means, unless otherwise specified, the proportion that an Allowed
Claim in a particular Class bears to the aggregate amount of Allowed Claims in that Class.

      43.    “Proof of Claim” means a proof of Claim filed against the Debtor in the
Bankruptcy Case.

      44.    “Professional” means: (a) an Entity employed pursuant to sections 327, 363, or
1103 of the Bankruptcy Code; (b) the Subchapter V Trustee; and (c) an Entity awarded
compensation and reimbursement by the Bankruptcy Court pursuant to section 503(b)(4) of the
Bankruptcy Code.

       45.    “Professional Fee Claim” means a Claim by a Professional seeking an award by
the Bankruptcy Court of compensation for services rendered or reimbursement of expenses
incurred through and including the Effective Date under sections 330, 331, and 503(b) of the
Bankruptcy Code.

        46.    “Projected Disposable Income” shall have the meaning set forth in Article I.EF.

       47.      “Reinstate” means reinstate, reinstated, or reinstatement with respect to Claims
and Interests, that the Claim or Interest shall be rendered Unimpaired in accordance with section
1124 of the Bankruptcy Code. “Reinstated” and “Reinstatement” shall have correlative meanings.

        48.     “Schedules” means the schedules of assets and liabilities and the statements of
financial affairs filed by the Debtor pursuant to section 521 of the Bankruptcy Code, the official
bankruptcy forms, and the Bankruptcy Rules, as they may be supplemented or amended from time
to time.

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        49.     “Secured Claim” means any Claim that is secured by a valid, perfected and
enforceable Lien on collateral to the extent of the value of such collateral, as determined in
accordance with section 506(a) of the Bankruptcy Code, or, in the event that such Claim is a claim
of setoff under section 553 of the Bankruptcy Code, to the extent of such setoff.

        50.    “Solicitation” means that solicitation of votes in connection with the Plan pursuant
to section 1126 of the Bankruptcy Code.

        51.     “Solicitation Procedures Order” means the order entered by the Bankruptcy Code
setting the date for the Confirmation Hearing, and establishing deadlines for submitting Ballots,
objecting to the Plan and the proposed assumption of Executory Contracts and Unexpired Leases,
among other relief.

        52.    “Subchapter V Trustee” shall refer to Kimberly Clayson, appointed pursuant to
section 1183(a) of the Bankruptcy Code in the Bankruptcy Case.

       53.     “Unclaimed Distribution” shall have the meaning provided in Article VIII.E.

      54.     “Unexpired Lease” means a lease to which the Debtor is a party that is subject to
assumption or rejection pursuant to section 365 of the Bankruptcy Code.

      55.     “Unimpaired” means, with respect to a Class of Claims or Interests, a Class of
Claims or Interests that is not impaired within the meaning of section 1124 of the Bankruptcy
Code.

        56.    “Voting Deadline” means the deadline for submitting Ballots established in the
Solicitation Procedures Order.

B.     Rules of Interpretation.

        For the purposes of this Plan: (1) in the appropriate context, each term, whether stated in
the singular or the plural, shall include both the singular and the plural, and pronouns stated in the
masculine, feminine, or neuter gender shall include the masculine, feminine, and the neuter gender;
(2) unless otherwise specified, any reference herein to a contract, lease, instrument, release,
indenture, or other agreement or document shall be substantially in such form or substantially on
such terms and conditions; (3) unless otherwise specified, any reference herein to an existing
document, schedule, or exhibit, shall mean such document, schedule, or exhibit, as it may have
been or may be amended, modified, or supplemented; (4) unless otherwise specified, all references
herein to “Articles” are references to Articles hereof or hereto; (5) the words “herein,” “hereof,”
and “hereto” refer to the Plan in its entirety rather than to any particular portion of the Plan; (6)
captions and headings to Articles are inserted for convenience of reference only and are not
intended to be a part of or to affect the interpretation of the Plan; (7) unless otherwise specified
herein, the rules of construction set forth in section 102 of the Bankruptcy Code shall apply; (8)
any term used in capitalized form herein that is not otherwise defined but that is used in the
Bankruptcy Code or the Bankruptcy Rules shall have the meaning assigned to that term in the
Bankruptcy Code or the Bankruptcy Rules, as the case may be; (9) any immaterial effectuating
provisions may be interpreted by the Debtor in such a manner that is consistent with the overall
purpose and intent of the Plan all without further notice to or action, order, or approval of the


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Bankruptcy Court or any other Entity; and (10) unless otherwise specified, any action to be taken
on the Effective Date may be taken on or as soon as reasonably practicable thereafter.

C.     Computation of Time.

        Unless otherwise specifically stated herein, the provisions of Bankruptcy Rule 9006(a)
shall apply in computing any period of time prescribed or allowed herein. If the date on which a
transaction may occur pursuant to the Plan shall occur on a day that is not a Business Day, then
such transaction shall instead occur on the next succeeding Business Day.

                                         ARTICLE XI.
                                      OTHER PROVISIONS

A.     Confirmation Hearing and Objection Deadline.

        The Bankruptcy Court will schedule the Confirmation Hearing to consider whether the
Plan satisfies the various requirements of the Bankruptcy Code and Bankruptcy Rules. Any
objection to the Plan shall be filed by the objection deadline set forth in the Solicitation Procedures
Order.

B.     Acceptance and Rejection of Plan.

        The Debtor shall provide all Holders of Allowed Claims in an Impaired Class with a Ballot.
Such Holders may vote to accept or reject the Plan by completing, dating, signing and causing to
the Ballot to be returned to the Debtor’s counsel by the voting deadline set forth in the Solicitation
Procedures Order.

        Pursuant to section 1126 of the Bankruptcy Code, an Impaired Class shall have accepted
the Plan if (i) the Holders of at least two-thirds (2/3) in amount of the Allowed Claims that have
timely returned Ballots in such Class have voted to accept the Plan, and (ii) the Holders of more
than one-half (1/2) in number of the Allowed Claims that have timely returned Ballots in such
Class have voted to accept the Plan (in both instances, acceptance or rejection by such Holders
shall be made in good faith). If necessary and applicable for Confirmation of the Plan, the Debtor
reserves the right to request that the Bankruptcy Court address whether the Plan may be deemed
accepted or rejected by any Impaired Class for which no Holder has returned a Ballot voting to
accept or reject the Plan.

C.     Nonconsensual Confirmation.

       The Bankruptcy Court shall confirm the Plan under section 1191(a) of the Bankruptcy
Code if all of the requirements of section 1129(a) of the Bankruptcy Code are met, including,
among other things making a finding that all Impaired Classes have voted to accept the Plan.

        If one or more Impaired Class votes to reject the Plan, the Bankruptcy Court shall confirm
the Plan upon a finding that the Debtor has satisfied the requirements of section 1191(b) with
respect to each rejecting Impaired Class.




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D.      Immediate Binding Effect.

        Upon the occurrence of the Effective Date, the terms of the Plan, and any documents
supplemental to the Plan, shall be immediately effective and enforceable and deemed binding upon
the Debtor and any and all Holders of Claims or Interests (irrespective of whether such Claims or
Interests are deemed to have accepted the Plan), all Entities that are parties to or are subject to the
settlements, compromises, releases, discharges, and injunctions described in the Plan, each Entity
acquiring property under the Plan, and any and all non-Debtor parties to Executory Contracts and
Unexpired Leases with the Debtor.

E.      Retention of Jurisdiction.

         Pursuant to sections 105(a) and 1142 of the Bankruptcy Code, and notwithstanding the
entry of the Confirmation Order or the occurrence of the Effective Date, the Bankruptcy Court
shall retain exclusive jurisdiction over all matters arising in, arising out of, and related to, the Plan,
the Confirmation Order, and the Bankruptcy Case to the fullest extent permitted by law, including
but not limited to: (i) determining the allowance of compensation and expenses of Professionals;
(ii) hearing and deciding any and all adversary proceedings, applications, and contested matters;
(iii) determining issues or disputes relating to the assumption of Executory Contracts and
Unexpired Leases and any claims related thereto; (iv) determining disputes as to classification or
allowance of Claims or Interests; (v) resolving any dispute between or among any of the parties to
the Bankruptcy Case; (vi) ruling on any modification of the Plan proposed under section 1193;
(vii) determining other such matters as may be set forth in the Confirmation Order or as may be
authorized under the provisions of the Bankruptcy Code; (viii) entering a final decree closing the
Bankruptcy Case; (ix) correcting any defect, cure any omission or reconciling any inconsistency
in this Plan or Confirmation Order; and (x) issuing such orders or injunctions as may be necessary
to execute, implement, or consummate the Plan, or taking such other actions as may be necessary
to restrain interference by any Entity with consummation or enforcement of the Plan.

F.      Entire Agreement and Non-severability.

       Except as otherwise indicated, the Plan supersedes all previous and contemporaneous
negotiations, promises, covenants, agreements, understandings, and representations on such
subjects, all of which have become merged and integrated into the Plan.

        If, prior to Confirmation, any term or provision of the Plan is held by the Bankruptcy Court
to be invalid, void, or unenforceable, the Bankruptcy Court shall have the power to alter and
interpret such term or provision to make it valid or enforceable to the maximum extent practicable,
consistent with the original purpose of the term or provision held to be invalid, void, or
unenforceable, and such term or provision shall then be applicable as altered or interpreted.
Notwithstanding any such holding, alteration, or interpretation, the remainder of the terms and
provisions of the Plan will remain in full force and effect and will in no way be affected, impaired,
or invalidated by such holding, alteration, or interpretation. The Confirmation Order shall
constitute a judicial determination and shall provide that each term and provision of the Plan, as it
may have been altered or interpreted in accordance with the foregoing, is (i) valid and enforceable
pursuant to its terms; (ii) integral to the Plan and may not be deleted or modified without the Debtor
or, prior to the termination of his services, the Subchapter V Trustee’s consent; and (ii) non-
severable and mutually dependent.

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G.     Effect of Non-occurrence of Effective Date.

       If the Effective Date does not occur, the Plan shall be null and void in all respects and
nothing contained in the Plan shall: (i) constitute a waiver or release of any Claims by or against
the Debtor; or (ii) prejudice in any manner the rights of the Debtor, or constitute an admission,
acknowledgment, offer or undertaking by the Debtor.

H.     Governing Law.

       Except to the extent the Bankruptcy Code or Bankruptcy Rules apply, and subject to the
provisions of any contract, lease, instrument, release, indenture, or other agreement or document
entered into expressly in connection herewith, the rights and obligations arising hereunder shall be
governed by, and construed and enforced in accordance with, the laws of the State of Michigan,
without giving effect to conflict-of-laws principles.

I.     Tax Consequences.

        The Debtor has not requested a ruling from the Internal Revenue Service with respect to
these matters and no opinion of counsel has been sought or obtained by the Debtor with respect
thereto. There can be no assurance that the Internal Revenue Service or any state or local taxing
authorities will not challenge any or all of the tax consequences of the Plan, or that such a
challenge, if asserted, would not be sustained.

     FOR THE FOREGOING REASONS, CREDITORS ARE URGED TO CONSULT WITH
THEIR OWN TAX ADVISORS AS TO THE SPECIFIC TAX CONSEQUENCES (FOREIGN,
FEDERAL, STATE, AND LOCAL) TO THEM OF THE PLAN. THE DEBTOR IS NOT
MAKING ANY REPRESENTATIONS REGARDING THE PARTICULAR TAX
CONSEQUENCES OF THE CONFIRMATION AND CONSUMMATION OF THE PLAN AS
TO ANY CREDITOR OR EQUITY HOLDER, NOR IS THE DEBTOR RENDERING ANY
FORM OR LEGAL OPINION AS TO SUCH TAX CONSEQUENCES.

J.     Reservation of Rights.

        The Debtor reserves the right to, among other things: (i) contest the right of the Holder of
any Claim to vote on the Plan, or designate the vote of the Holder of any Claim; (ii) contest the
right of the Holder of any Claim to receive distributions under the Plan; (iii) contest the validity of
a creditor’s Lien or security interest; (iv) seek to subordinate any Claim for inequitable conduct or
otherwise; and (v) to pre-pay all or a portion of an Allowed Claim. Except as otherwise provided,
no assets shall be deemed abandoned and no defense, set-off, counterclaim, or right of recoupment
of the Debtor shall be deemed waived, released, or compromised.

K.     Waiver or Estoppel.

       Each Holder of a Claim or Interest shall be deemed to have waived any right to assert any
argument, including the right to argue that its Claim or Interest should be Allowed in a certain
amount, in a certain priority, secured or not subordinated by virtue of an agreement made with the
Debtor, or any other Entity, if such agreement was not disclosed in the Plan, any documents
supplementary to the Plan prior to the Confirmation Date.


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L.     Successors and Assigns.

         The rights, benefits, and obligations of any Entity named or referred to in the Plan shall be
binding on, and shall inure to the benefit of any heir, executor, administrator, success or assign,
affiliate, officer, manager, director, agent, representative, attorney, beneficiaries, or guardian, if
any, of each Entity.



                                       PORTER’S PENINSULA LOGGING, LLC

Dated: October 31, 2023
                                       By: /s/ Todd Porter______________________
                                          Name: Todd Porter
                                          Title: Sole Member


                                               WARNER NORCROSS & JUDD LLP

Dated: October 31, 2023.               By:
                                                /s/ Rozanne M. Giunta
                                               ROZANNE M. GIUNTA (P29969)
                                               Attorneys for Debtor
                                               715 E. Main Street, Suite 110
                                               Midland, Michigan 48640
                                               (989) 698-3758
                                               rgiunta@wnj.com




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                                                     EXHIBIT A
                                                  LIQUIDATION ANALYSIS

                   ASSETS:                      VALUE             LIENS           AMOUNT OF LIEN          EQUITY

Cash on Hand                               $7,000.00        N/A                                $0.00       $7,000.00
Accounts Receivable                        $47,000.00       B2B Financing                 $71,900.00           $0.00
Inventory                                  $10,000.00       B2B Financing                 $24,900.00           $0.00
Office Furniture                           $260.74          N/A                                $0.00        $260.74
Equipment:
2021 Komatsu XT430-5                       $310,000.00      Komatsu Financial            $310,000.00           $0.00
1999 Bison S15 Forwarder                   $25,000.00       Lutke Equipment                $9,058.00           $0.00
                                                            B2B Financing                  $5,042.00           $0.00
2018 Rolly Harvester                       $50,000.00       B2B Financing                 $19,858.00      $30,142.00
2000 International Paystar 5000            $21,000.00                                                     $21,000.00
Cause of action/claim against Roland
 Machinery Company                         Recovery unknown                                            unknown

Equity Available for Distribution*:                                                                        $58,402.74

LIABILITIES:

Professional Fees (Estimate)               $50,000.00
Amount Available to Unsecured Creditors    $8,402.74
Unsecured Debt:
Accounts Payable                           $121,911.53

                                                                                Value for distribution
                                                                                to unsecured creditors:    $8,402.74

*This amount does not take into consideration any costs
of liquidation, reserve for bad debt on accounts
receivable or future Trustee's fees




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                                        EXHIBIT B
                          PORTER’S PENINSULA LOGGING, LLC
                                  MONTHLY PROJECTIONS
Expenses:                                                     Amount:


Diesel – off road for equipment                               $ 3,100.00
Diesel – on road for semi                                     $ 2,000.00
Truck gas                                                     $ 1,500.00
Repairs, maintenance of equipment, trucks and semi            $ 2,500.00
Payroll 1099 contract employees (2)                           $ 4,000.00
Personal wage draw                                            $ 2,000.00
Outsourcing such as snowplowing and excavating                $    50.00
Trucking for moving equipment                                 $ 3,500.00
Tools                                                         $   100.00
Phone/Wifi                                                    $   300.00
Oils, lube, grease and def.                                   $ 2,500.00
Stumpage                                                      $14,400.00
Insurance:
Bonds                                                         $    80.00
Truck                                                         $   216.00
Semi                                                          $   364.00
Forwarder                                                     $   212.50
Processor                                                     $   718.26
Liability                                                     $    60.38
                                                              ========
                                           Total              $37,601.14


Projected funds available:                                    $10,398.86




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                                        EXHIBIT D
                            GENERAL UNSECURED CLAIMS
CREDITOR:                                                   AMOUNT:
Komatsu Financial Limited Partnership                       $106,239.40
Blarney Castle Oil Co.                                      $   2,489.36
Corrigan Oil Co.                                            $   7,445.14
Woodland Equipment Inc.                                     $   5,737.63
                                                            =========
                                                            $121,911.53




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